               1   WANGER JONES HELSLEY PC
                   265 E. River Park    Circle, Suite 310
               2   Fresno, California    93720
                   Telephone: (559) 233-4800
               3   Facsimile: (559) 233-9330

               4   Peter M. Jones #105811


               5

               6   Attorneys for:           Defendant ANGELICA FLORES

               7
                                                             UNITED STATES DISTRICT COURT
               8

                                                        EASTERN DISTRICT OF CALIFORNIА
               9

              10   UNITED STATES OF AMERICA                                               Case No. 1:24-CR-00055-JLT-SKO

              11
                                        Plaintiff,                                        MOTION TO TERMINATE CJA
                                                                                          APPOINTMENT OF PETER M. JONES
                                                                                                                                                                  Case 1:24-cr-00055-JLT-SKO




              12
                            V.                                                            AS ATTORNEY OF RECORD; AND
              13                                                                          [PROPOSED] ORDER
                   ANGELICA FLORES
              14
                                        Defendant.
              15




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              16
                                                                                                                                                                  Document 619




              17

              18

              19
                                                                                          ---------------



              20
                            On March 21, 2024, Defendant,                Angelica Flores, was indicted on federal charges.                         CJA   Panel

              21   Attorney, Peter M. Jones, was appointed                as   trial counsel to represent Ms. Flores                   on   March 14, 2024, in
                                                                                                                                                                  Filed 05/08/25




              22   her criminal case.       Ms. Flores       was   sentenced, pursuant to                   a   plea agreement,   on   February 18, 2025.   No

              23   direct appeal was filed.          Ms. Flores was in custody at sentencing.                       The trial phase of Ms. Flores' criminal

              24   case   has, therefore,     come      to   an   end.   Having completed his/her representation of Ms. Flores,                             CJA

              25   attorney, Peter M. Jones, now moves to terminate his appointment under the Criminal Justice Act.
              26
                                                                                                                                                                  Page 1 of 2




                            Should Ms. Flores require further legal assistance, she has been advised to contact the Office of

              27   the   Federal Defender for the Eastern District of California by mail at 2300 Tulare                                      Street, Suite 330,
              28   ///

                                                                                      1

                          MOTION TO TERMINATE СЈА АРРOINTMENT OF PETER M. JONES AS ATTORNEY OF RECORD; AND
                                                         [PROPOSED] ORDER
 1   Fresno, CA 93721,               or   by phone   at   (559) 487-5561 (collect)   or   (855)   656-4360               (toll-free), which,   if

2    appropriate, will arrange for the re-appointment of counsel to assist her.
 3                                                                          Respectfuly submitted,
     Dated: May 7, 2025

 4

                                                                         By
 5
                                                                                Peter M. Jones
6                                                                               Attorneys for Defendant Angelica Flores

 7




               May 8, 2025
8                                                            PROPOSED ORDER

 9            Having reviewed the notice and found that attorney, Peter M. Jones has completed the services

10   for which he            was   appointed, the Court hereby grants attorney Peter M. Jones' request for leave to
11   withdraw as             defense counsel in this matter. Should Defendant seek further legal assistance, Defendant
                                                                                                                                                    Case 1:24-cr-00055-JLT-SKO




12   is advised to contact the Office of the Federal Defender for the Eastern District of California at 2300

13   Tulare Street, Suite 330, Fresno, CA 93721.                  The phone number for the office is (559) 487-5561

14   (collect) or (855) 656-4360 (toll-free).               If appropriate, the office    will arrange for the reappointment of

15   counsel to assist Defendant.
                                                                                                    ---------------




16            The Clerk of the Court is directed to serve a copy of this order on Defendant, Angelica Flores
                                                                                                                                                    Document 619




17   at the following address             and to update the docket to reflect Defendant's pro se                      status and contact


18   information:

19            Angelica Flores, ID No. 03811-511,
20            7410 S. Macarthur Blvd.,

21            Oklahoma City, OK 93169.
                                                                                                                                                    Filed 05/08/25




22

23            IT IS           SO ORDERED.

24

25   Dated:
                                                                            UNITED STATES DISTRICT JUDGE
26
                                                                                                                                                    Page 2 of 2




27

28

                                                                        2

           MOTION TO TERMINATE CJA APPOINTMENT OF PETER M. JONES AS ATTORNEY OF RECORD; AND
                                                               [PROPOSED] ORDER
